                Case 2:20-cr-00563-VAP Document 90 Filed 10/05/21 Page 1 of 6 Page ID #:446
                                                          United States District Court
                                                          Central District of California


 UNITED STATES OF AMERICA vs.                                                 Docket No.            LACR 20-00563-VAP-1

 Defendant            Dedrick Barrow                                          Social Security No. 9         6     3     8

 akas: Lil Polk                                                               (Last 4 digits)

                                            JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH   DAY   YEAR
             In the presence of the attorney for the government, the defendant appeared in person on this date.        09      27   2021


 COUNSEL                                                                  Ijeoma U. Eke, DFPD
                                                                             (Name of Counsel)

      PLEA            X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO              NOT
                                                                                                                CONTENDERE          GUILTY
     FINDING          There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:

                      Conspiracy to Distribute and to Possess with Intent to Distribute Methamphetamine and Cocaine Base in the Form of
                      Crack Cocaine in violation of 21 U.S.C. § 846, 21 U.S.C. §§ 841(a)(1), (b)(1)(A) as charged in Count 1 of the
                      Indictment.

JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM    that:
  ORDER

       It is ordered that the defendant shall pay to the United States a special assessment of $ 100, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25
per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

        Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established
that he is unable to pay and is not likely to become able to pay any fine.

      Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Dedrick
Ray Barrow, is hereby committed on Count 1 of the Indictment to the custody of the Bureau of Prisons for a term of
130 months.

       The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and
provide all necessary treatment.

       Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 5 years
under the following terms and conditions:

1.       The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services
         Office and Second Amended General Order 20-04.

2.       The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to
         one drug test within 15 days of release from custody and at least two periodic drug tests thereafter, not to

CR-104 (docx 12/20)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                              Page 1 of 6
                Case 2:20-cr-00563-VAP Document 90 Filed 10/05/21 Page 2 of 6 Page ID #:447

 USA vs.      Dedrick Barrow                                       Docket No.:   LACR 20-00563-VAP-1

         exceed eight tests per month, as directed by the Probation Officer.

3.       The defendant shall participate in an outpatient substance abuse treatment and counseling program that
         includes urinalysis, breath or sweat patch testing, as directed by the Probation Officer. The defendant shall
         abstain from using alcohol and illicit drugs, and from abusing prescription medications during the period of
         supervision.

4.       During the course of supervision, the Probation Officer, with the agreement of the defendant and defense
         counsel, may place the defendant in a residential drug treatment program approved by the U.S. Probation
         and Pretrial Services Office for treatment of narcotic addiction or drug dependency, which may include
         counseling and testing, to determine if the defendant has reverted to the use of drugs. The defendant shall
         reside in the treatment program until discharged by the Program Director and Probation Officer.

5.       As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered
         treatment to the aftercare contractors during the period of community supervision. The defendant shall
         provide payment and proof of payment as directed by the Probation Officer. If the defendant has no ability
         to pay, no payment shall be required.

6.       During the period of community supervision, the defendant shall pay the special assessment in accordance
         with this judgment's orders pertaining to such payment.

7.       The defendant shall cooperate in the collection of a DNA sample from the defendant.

8.       The defendant shall submit the defendant's person, property, house, residence, vehicle, papers, or other areas
         under the defendant's control, to a search conducted by a United States Probation Officer or law
         enforcement officer. Failure to submit to a search may be grounds for revocation. The defendant shall warn
         any other occupants that the premises may be subject to searches pursuant to this condition. Any search
         pursuant to this condition will be conducted at a reasonable time and in a reasonable manner upon
         reasonable suspicion that the defendant has violated a condition of his supervision and that the areas to be
         searched contain evidence of this violation.

9.       The defendant shall not associate with anyone known to the defendant to be a member of the Hoover Street
         Gang and others known to the defendant to be participants in the Hoover Street Gang's criminal activities,
         with the exception of the defendant's family members. The defendant may not wear, display, use or possess
         any gang insignias, emblems, badges, buttons, caps, hats, jackets, shoes, or any other clothing that defendant
         knows evidence affiliation with the Hoover Street Gang, and may not display any signs or gestures that
         defendant knows evidence affiliation with the Hoover Street Gang.

10.      As directed by the Probation Officer, the defendant shall not be present in any area known to the defendant
         to be a location where members of the Hoover Street Gang meet or assemble.

       The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Report to the
substance abuse treatment provider to facilitate the defendant's treatment for narcotic addiction or drug dependency.
Further redisclosure of the Presentence Report by the treatment provider is prohibited without the consent of the
sentencing judge.

         The Court recommends that the defendant be designated to Terminal Island, alternatively, a Southern California
facility.


CR-104 (docx 12/20)                      JUDGMENT & PROBATION/COMMITMENT ORDER                                     Page 2 of 6
                Case 2:20-cr-00563-VAP Document 90 Filed 10/05/21 Page 3 of 6 Page ID #:448

 USA vs.      Dedrick Barrow                                                 Docket No.:       LACR 20-00563-VAP-1

       The Court recommends that the defendant be considered for participation in the Bureau of Prison’s 500-hour
Residential Drug Abuse Program (RDAP).

         In the interest of justice and upon government’s motion, all remaining counts are ordered dismissed.

         Defendant is advised of his right to appeal.


 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            October 5, 2021
            Date                                                  U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




            October 5, 2021                                 By    /s/ Christine Chung
            Filed Date                                            Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                              STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                              While the defendant is on probation or supervised release pursuant to this judgment:




CR-104 (docx 12/20)                            JUDGMENT & PROBATION/COMMITMENT ORDER                                                  Page 3 of 6
                Case 2:20-cr-00563-VAP Document 90 Filed 10/05/21 Page 4 of 6 Page ID #:449

 USA vs.      Dedrick Barrow                                                         Docket No.:     LACR 20-00563-VAP-1

 1.    The defendant must not commit another federal, state, or local crime;    9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a               any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                      by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                    family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the          review and has determined that the restriction is necessary for
       court or probation officer;                                                     protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without     10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;               not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation             other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment               substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;             11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation               being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before    12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change            ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                 13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her           enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                permission of the court;
       any contraband prohibited by law or the terms of supervision and         14.    The defendant must follow the instructions of the probation officer
       observed in plain view by the probation officer;                                to implement the orders of the court, afford adequate deterrence from
 8.    The defendant must work at a lawful occupation unless excused by                criminal conduct, protect the public from further crimes of the
       the probation officer for schooling, training, or other acceptable              defendant; and provide the defendant with needed educational or
       reasons and must notify the probation officer at least ten days before          vocational training, medical care, or other correctional treatment in
       any change in employment or within 72 hours of an unanticipated                 the most effective manner.
       change;




CR-104 (docx 12/20)                                  JUDGMENT & PROBATION/COMMITMENT ORDER                                                         Page 4 of 6
                Case 2:20-cr-00563-VAP Document 90 Filed 10/05/21 Page 5 of 6 Page ID #:450

 USA vs.      Dedrick Barrow                                                     Docket No.:     LACR 20-00563-VAP-1



      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.


CR-104 (docx 12/20)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 5 of 6
                Case 2:20-cr-00563-VAP Document 90 Filed 10/05/21 Page 6 of 6 Page ID #:451

 USA vs.      Dedrick Barrow                                                    Docket No.:       LACR 20-00563-VAP-1




                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




CR-104 (docx 12/20)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 6 of 6
